                               NO. 07-10-0454-CV

                            IN THE COURT OF APPEALS

                       FOR THE SEVENTH DISTRICT OF TEXAS

                                  AT AMARILLO

                                    PANEL A

                               DECEMBER 16, 2010

                        ______________________________


           KANDY GILBERT, INDIVIDUALLY AND AS INDEPENDENT EXECUTRIX
                  OF THE ESTATE OF ELIZABETH MOORE, APPELLANT

                                      V.

                   RONALD E. MOORE, AS INDEPENDENT EXECUTOR
               OF THE ESTATE OF OATHER WINFIELD MOORE, APPELLEE

                       _________________________________

              FROM THE 286[TH] DISTRICT COURT OF HOCKLEY COUNTY;

                 NO. 09-12-21987; HONORABLE PAT PHELAN, JUDGE

                        _______________________________

Before CAMPBELL and HANCOCK and PIRTLE, JJ.
                              MEMORANDUM OPINION
	Pending before this Court is Appellants Motion to Dismiss Appeal in which she requests that this appeal be dismissed.  Without passing on the merits of the case, the motion is granted and the appeal is dismissed.  Tex. R. App. P. 42.1(a)(1).  Having dismissed the appeal at Appellant's request, no motion for rehearing will be entertained and our mandate will issue forthwith.
							Patrick A. Pirtle
							      Justice

